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ANTHONY MARTIN
Attorney for the United States Attorney CLERK U 8 DISTRIC? COURT
Acting Under Authority Conferred by 28 U.S.C. § 515 | gy DISTRICT OF ARIZONA
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LISA E. JENNIS

Assistant United States Attorney
Two Renaissance Square

40 N. Central Ave., Suite 1800
Phoenix, Arizona 85004
Telephone: 602-514-7500

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PUBLIC DISCLOSURE

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, No. CR-20-00673-PHX-MTL (MTM)
Plaintiff,
INDICTMENT
VS.
VIO: 18 U.S.C. § 2261A(2)
Cyberstalking
Chauncey Hollingberry, Count |
Defendant.

 

 

 

THE GRAND JURY CHARGES:
COUNT 1
On or about January 8, 2020, through February 2020, the exact date being unknown,
in the District of Arizona, and elsewhere, defendant CHAUNCEY HOLLINGBERRY,
with the intent to injure, harass, and intimidate, another person, Victim K., used the mail,
any interactive computer service or electronic communication service or electronic
communication system of interstate commerce, or any other facility of interstate or foreign

commerce to engage in a course of conduct that caused, attempted to cause, or would be

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reasonably expected to cause substantial emotional distress to another person, Victim K.

In violation of 18 U.S.C. Section 2261A(2).

A TRUE BILL

/s/
FOREPERSON OF THE GRAND JURY
Date: October 20, 2020

ANTHONY MARTIN

Attorney for the United States Attorney

Acting Under Authority Conferred by 28 U.S.C. § 515
District of Arizona

/s/
LISA E. JENNIS
Assistant U.S. Attorney

 

 
